     Case 4:19-cv-05210-RMP           ECF No. 177          filed 10/30/19   PageID.4304 Page 1 of 2

                                   UNITED STATES DISTRICT COURT
                                       EASTERN DISTRICT OF WASHINGTON
                                         920 WEST RIVERSIDE AVENUE
                                                P.O. BOX 1493
                                         SPOKANE, WASHINGTON 99210
                                               www.waed.uscourts.gov

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CHIEF DEPUTY CLERK

     10/30/2019
     Joshua M. Kolsky
     United States Department of Justice
     1100 L Street, NW
     Washington, D.C. 20005
    RE: State of WA et al v. US Department of Homeland Security et al
        4:19-cv-05210-RMP
    Dear Mr. Kolsky

    Attached is a copy of the Notice of Appeal and docket sheet in the above-referenced case.

    IMPORTANT - The Transcript Designation and Ordering form is now available on the public website under
    forms KWWSZZZZDHGXVFRXUWVJRYIRUPVDOOIRUPVWUDQVFULSWBIRUPV. $OOTranscript DesignDWLRQDQG
    Ordering forms should be electronically filed in ECF. You must contact the Court Reporter to
    make financial arrangements.

    3OHDVH1RWHThe designation form must be completed in full including the name and date of each
    proceeding and the court reporter’s name who reported the proceeding. The docket entries enclosed provide
    the dates of the hearings and the court reporter’s name. “Entire transcript,” “Entire trial” or “All
    proceedings” is not sufficient information to process your transcript order.
    The transcript designation should be e-filed. The event is located under “Appeal Documents; 9CCA
    Transcript Designation of Record on Appeal”. Official Court Reporters will receive notification via ECF. You
    must mail a copy to contract Court Reporters. You must contact the Court Reporter to make financial
    arrangements.
    TRANSCRIPTS FILED PRIOR TO APPEAL:

    If a hearing transcript has been filed prior to the appeal, you should designate the hearing date if you are
    considering it to be part of the record. Also, please indicate on the transcript and designation form that
    the transcript has already been filed.
    Thank you for your assistance. If you have any question, please call.

    Very truly yours,

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    Appeal Deputy Clerk
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